          Case 5:21-cv-00307-J Document 1 Filed 04/06/21 Page 1 of 3




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

AMY CORRICK,                        )
                                    )
     Plaintiff,                     )
                                    )
v.                                  )               CASE NO. CIV-21-307-J
                                    )
8409 NE 10TH LLC d/b/a HAYDEN PLACE )
APARTMENTS,                         )
                                    )
     Defendant.                     )

                                   COMPLAINT

      COMES NOW the Plaintiff, Amy Corrick (hereinafter referred to as “Corrick” or

“Plaintiff”), and for her cause of action against the Defendant, 8409 NE 10th LLC

d/b/a Hayden Place Apartments (hereinafter referred to as “Defendant”), asserts and

states as follows:

1.    The Plaintiff resides within the City of Broomfield, County of Broomfield, State

      of Colorado.

2.    That the Defendant, 8409 NE 10th LLC, conducts business within the City of

      Oklahoma City, County of Oklahoma, State of Oklahoma.

3.    Specifically, Defendant is the owner and operator of an apartment complex

      doing business as Hayden Place Apartments.

4.    The claims alleged herein occurred in Oklahoma County, State of Oklahoma.

5.    The court has jurisdiction over this matter pursuant to 28 U.S.C. §1332

      because there is diversity between the parties and the amount in controversy

      exceeds $75,000.00, exclusive of interest and costs.

6.    Therefore, jurisdiction and venue are proper herein.
          Case 5:21-cv-00307-J Document 1 Filed 04/06/21 Page 2 of 3




7.    That on February 13, 2020, Plaintiff was an invitee on the premises of the

      Defendant’s property located at 6305/6307 N.W. 10th Street, Oklahoma City,

      Oklahoma when she fell down a flight of stairs.

8.    That the Defendant was negligent by, including but not limited to, failing to

      properly maintain the premises in a safe condition for its invitees, such as

      Plaintiff, and by failing to place warning signs or taking necessary precautions

      to ensure that the premises were in fact safe for its customers and by failing

      to provide adequate training of its employees to ensure the premises are safe

      for its customers.

9.    That as a result of the negligence of the Defendant, the Plaintiff sustained

      permanent injuries and has incurred medical bills and will in the future incur

      medical bills; she has experienced pain and suffering and, in the future, will

      experience pain, suffering and permanent disability.

      WHEREFORE, Plaintiff, Amy Corrick, seeks recovery and judgment from the

Defendant for an amount in excess of SEVENTY-FIVE THOUSAND AND NO/100

DOLLARS ($75,000.00) including costs, interest and such other and further relief as

the Court deems appropriate.




                                          2
       Case 5:21-cv-00307-J Document 1 Filed 04/06/21 Page 3 of 3




                           Respectfully submitted,

                           s/ Kenyatta R. Bethea
                           Kenyatta R. Bethea, OBA# 18650
                           HOLLOWAY, BETHEA & OTHERS, PLLC
                           3035 N.W. 63rd, Suite 102N
                           Oklahoma City, OK 73116
                           Telephone: (405) 246-0600
                           Facsimile: (405) 810-4080
                           kbethea@hbolaw.com
                           ATTORNEYS FOR PLAINTIFF
                           AMY CORRICK



ATTORNEY LIEN CLAIMED!

JURY TRIAL DEMAND!




                                   3
